                  Case 1:18-cv-00719-CCR                      Document 134                Filed 02/25/22            Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                  Western District
                                                   __________      of NewofYork
                                                                District    __________
     &0%'/ 03:) 6)7-787 -2 8,) 6978 IX EP
    MRHMZMHYEPP] ERH SR FILEPJ SJ E GPEWW SJ EPP SXLIVW
                    WMQMPEVP] WMXYEXIH                                    )
                             Plaintiff                                     )
                                 v.                                        )       Case No.        GZ''6
                  'MX] SJ &YJJEPS 2= IX EP                             )
                            Defendant                                      )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:
          'MX] SJ &YJJEPS &]VSR & &VS[R &]VSR ' 0SGO[SSH (ERMIP (IVIRHE %EVSR =SYRK /IZMR &VMRO[SVXL 4LMPMT 7IVEJMRM 6SFFMR 8LSQEW 9RORS[R
          7YTIVZMWSV] 4IVWSRRIP  9RORS[R 3JJMGIVW                                                                                           .


Date:                                                                                      W4IXIV%7ELEWVEFYHLI
                                                                                                           Attorney’s signature


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